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                   IN THE UNITED STATES DISTRICT COURT FOR THE
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                             EASTERN DISTRICT OF VIRGINIA                                 OCT - 7 2013

                                       Richmond Division                             CUERK, U.S. DISTRICT COURT
                                                                                   *•»-    RICHMOND VA

UNITED STATES OF AMERICA                         )   CRIMINAL NO. 3:13cr 127

              v.



JOSHUA CLAYTON BRADY,

                   Defendant.


                                      PLEA AGREEMENT


       Dana J. Boente, Acting United States Attorney for the Eastern District of Virginia,

Michael C. Moore, Assistant United States Attorney, the defendant, JOSHUA CLAYTON

BRADY, and the defendant's counsel, Mary E. Maguire, Esquire have entered into the following

agreement pursuant to Rule 11 of the Federal Rules of Criminal Procedure:

       1.      Offense and Maximum Penalties


       The defendant agrees to plead guilty to Counts One and Two of the indictment, each of

which charges the defendant with Impersonating a Federal Officer, in violation of Title 18,

United States Code, Section 912. The maximum penalty upon conviction of each count is a term

of three (3) years of imprisonment, a fine of $250,000.00, a special assessment, and one (1) year

of supervised release. The defendant understands that this supervised release term is in addition

to any prison term the defendant may receive, and that a violation of a term of supervised release

could result in the defendant being returned to prison for the full term of supervised release. The

defendant also understands that any terms of incarceration for supervised release violations on

Counts One and Two could run consecutively with each other.
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